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 Michael R. McDonald, Esq.                    Eric C. Bosset*
 Brielle A. Basso, Esq.                       COVINGTON & BURLING LLP
 GIBBONS P.C.                                 One City Center
 One Gateway Center                           850 Tenth Street, NW
 Newark, NJ 07102                             Washington, D.C. 20001
 Tel: (973) 596-4500                          Telephone: (202) 662-6000
                                              *admitted pro hac vice
 Attorneys for Samsung                        Simon J. Frankel*
 Electronics America, Inc.                    COVINGTON & BURLING LLP
                                              One Front Street, 35th Floor
                                              San Francisco, CA 94102
                                              Telephone: (415) 591-6000
                                              *admitted pro hac vice
                                              Attorneys for Samsung
                                              Electronics America, Inc.

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
 THOMAS ROGER WHITE, JR. and                Civil Action No. 17-1775 (MCA) (JSA)
 PATRICIA CAULEY on behalf of               Hon. Madeline Cox Arleo, U.S.D.J.
 themselves and all others similarly        Hon. Jessica S. Allen, U.S.M.J.
 situated,

                     Plaintiffs,
                                                  Document Electronically Filed
        v.

 SAMSUNG ELECTRONICS
 AMERICA, INC. and SONY
                                             NOTICE OF APPEAL TO THE U.S.
 ELECTRONICS INC.,
                                              COURT OF APPEALS FOR THE
                     Defendants.                   THIRD CIRCUIT


       Notice is hereby given, pursuant to 9 U.S.C. § 16(a), that Defendant

 Samsung Electronics America, Inc. (“SEA”) appeals to the United States Court of

 Appeals for the Third Circuit from the Letter Order of the United States District


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 Court, District of New Jersey, entered in this action on December 29, 2021,

 denying SEA’s Motion to Compel Individual Arbitration and Strike Plaintiffs’

 Class Claims and holding that SEA has waived its right to compel arbitration. Dkt.

 194.

 Dated: January 25, 2022                     Respectfully submitted,

                                         By: s/ Michael R. McDonald
                                             Michael R. McDonald
                                             mmcdonald@gibbonslaw.com
                                             Brielle A. Basso
                                             bbasso@gibbonslaw.com
                                             GIBBONS P.C.
                                             One Gateway Center
                                             Newark, NJ 07102
                                             Telephone: (973) 596-4500

                                               Eric C. Bosset*
                                               ebosset@cov.com
                                               COVINGTON & BURLING LLP
                                               One City Center
                                               850 Tenth Street, NW
                                               Washington, D.C. 20001
                                               Telephone: (202) 662-6000

                                               Simon J. Frankel*
                                               sfrankel@cov.com
                                               COVINGTON & BURLING LLP
                                               One Front Street, 35th Floor
                                               San Francisco, CA 94102
                                               Telephone: (415) 591-6000
                                               *admitted pro hac vice

                                               Attorneys for Defendant
                                               SAMSUNG ELECTRONICS
                                               AMERICA, INC.

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